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     In the United States Court of Federal Claims
                                No. 12-251C
                    (Originally Filed: November 6, 2012)
                       (Reissued: November 9, 2012)*


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RES-CARE, INC.,

                     Plaintiff,
                                             Bid protest; Job Corps Centers;
v.                                           Small Business Set-Asides;
                                             Statutory Construction
THE UNITED STATES,

                     Defendant.


**********************

       Jonathan D. Shaffer, Vienna, VA, for plaintiff.

      Amanda L. Tantum, Civil Division, Department of Justice, Washington,
DC, for defendant.

                              _______________

                                 OPINION
                              _______________


BRUGGINK, Judge.

       This is a pre-solicitation protest of the Department of Labor’s decision
to designate the contract for operation of the Blue Ridge Job Corps Center
(“Blue Ridge”) as a small business set-aside. Plaintiff, Res-Care Inc., is the
incumbent contractor. Because of the small business size limitations placed

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        Publication was deferred pending the parties’ review for redaction of
protected materials. With some exceptions, those redactions are indicated by
brackets.
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on this contract, Res-Care is precluded from qualifying for the award.
Currently before the court are the parties’ cross-motions for judgment on the
administrative record, plaintiff’s motion for leave to supplement the
administrative record with the second declaration of its executive vice-
president, and defendant’s motion to strike those portions of plaintiff’s
memorandum in support of its motion for judgment on the administrative
record that rely on extra-record evidence. The motions are fully briefed, and
we heard oral argument on November 2, 2012. As we announced at the
conclusion of oral argument, and for the reasons explained below, we deny
plaintiff’s motion to file the declaration, we deny its motion for judgment on
the administrative record, we grant defendant’s motion to strike, and we grant
defendant’s cross-motion for judgment on the administrative record.

                               BACKGROUND 1

       Res-Care currently operates Blue Ridge in Marion, Virginia under
contract DOLJ08PA00001, which runs from April 1, 2008 until March 31,
2013. Administrative Record (“AR”) 53. Blue Ridge is a job training facility
with a capacity of 160 residential female students, 30 non-residential female
students, and 10 non-residential male students. AR 2, 6. Before issuing a
formal solicitation for a new contract, the Department of Labor (“DOL”)
published a Sources Sought Notice for Request for Information
DOL121RI20442 (“sources sought notice”) on December 5, 2011, which was
later amended and republished on December 7, 2011.2 AR 1, 5. The sources
sought notice explained that “Job Corps is a national residential training and
employment program administered . . . to address the multiple barriers to
employment faced by at-risk youth throughout the United States.” AR 2, 6.
Specifically, the services sought included “educational and career technical
skills training,” operating the residential facility, providing meals and
supervision for 160 residential female students, job placement, health services,
and center oversight and management. AR 2, 6. The annual cost to run Blue
Ridge is roughly $5 million. AR 54. The proposed contract carries a value of
$25 million and would run for two years with three unilateral option years.
AR 53-54.


       1
           The facts are drawn from the administrative record.
       2
        The only apparent difference between the first and second sources
sought notices is the designation of the agency individual with whom potential
contractors would communicate. AR 4, 8.

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        Although the sources sought notice was not limited to small businesses,
DOL “encourage[d] firms that qualify under the Small Business Programs
mentioned in Federal Acquisition Subpart 19, including 8(a), HUBZone and
Service Disable Veteran Owned Small Business to respond,” AR 1, with a
“capabilities statement.” AR 4. Potential contractors were asked to include
in the capabilities statement their prior experiences running comparable
facilities, providing similar services, and operating with comparable financial
resources. AR 2-3. DOL also asked potential bidders to indicate on the cover
letter of the capabilities statement whether they participate with a small
business program. AR 1. DOL reserved “the right to compete any acquisition
resulting from this survey among small businesses based on the responses
received.” AR 1.

       DOL received five capabilities statements in response to its sources
sought notice. Four of the five responses were from small businesses.3 Res-
Care did not respond to the sources sought notice. Based on the capabilities
statements received from the five companies, DOL determined that two of the
small businesses were unable to perform the contract because they lacked
experience or failed to demonstrate sufficient financial wherewithal. AR 52,
56. The large business and two of the small businesses were deemed
potentially capable of performing the contract. AR 52. That conclusion was
based on a review of eleven areas of experience related to the work and an
assessment of whether the businesses had access to financial resources to
begin doing the work.

        On March 9, 2012, DOL designated the contract for the operation of
Blue Ridge as a 100% small business set-aside.4 AR 53. The Division Chief
for the Division of Job Corps Procurement determined that both requirements
for setting aside the contract for a small business pursuant to Federal
Acquisition Regulation (“FAR”) part 19.502-2 had been met. Specifically, she


          3
              [                       ] is a small business. AR 10. [
                  ] is a disadvantaged small 8(a) corporation. AR 20-21. [
                                    ] is a woman-owned 8(a) small business. AR 40.
[                                           ] is a small business under section 8(a). AR
51.1. [                                              ] is a large business. AR 30.
          4
         Under Federal Acquisition Regulation part 6.203, contracts may be set
aside for small businesses to fulfill statutory policies relating to small business
concerns. 48 C.F.R. § 6.203 (2012).

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concluded that two small businesses were “capable under all of the capability
areas identified” in the sources sought notice and that “there is a reasonable
expectation that award[s] will be made at fair market prices” based on past
offers made by the companies that were found to be capable of performing this
contract. AR 56.

        DOL issued a pre-solicitation notice, DOL121RP20489, on April 6,
2012, regarding the operation of the Blue Ridge Job Corps Center. The
request was revised on April 25, 2012, to state that “[t]he solicitation for this
requirement will be issued on or about May 4, 2012,” and that the contract will
be solicited as a “100% Set-Aside for Small Business.” AR 78-79.
Performance of the contract will begin on April 1, 2013. AR 78. The
solicitation was subsequently issued on September 11, 2012, and modified on
October 17, 2012.

       Res-Care is not classified as a small business under the applicable
regulations because its annual receipts exceed the limits set by the North
American Industry Classification System (“NAICS”). AR 53. NAICS codes
are promulgated by the Office of Management and Budget and are used to
classify an economic activity or industry for many purposes. Using the
already-established NAICS codes, the Small Business Administration then
imposes its own limitations on size and revenue. 13 C.F.R. § 121.201 (2012).
Thus, when the contracting officer designated a NAICS code for small
business set-aside, the effect was to both target the type of institutions solicited
and simultaneously to impose size and revenue limitations on those bidders.
The revenue limit associated with NAICS code 611519, which is the code for
the operation of Blue Ridge, caps awards to firms with no more than $35.5
million in annual receipts. AR 2, 54; 13 C.F.R. § 121.201. Therefore, if the
contract for operation of Blue Ridge were designated for small businesses, any
business with more that $35.5 million in annual receipts would be prohibited
from competing. Res-Care would not qualify.

        On April 18, 2012, prior to DOL issuing a formal solicitation, Res-Care
filed its complaint before this court seeking injunctive and declaratory relief.
Defendant filed the Administrative Record on May 14, 2012. Plaintiff sought
to supplement the Administrative Record with a declaration of its Executive
Vice-President of Operations, Richard Myers, and with a report (“Rell &
Doran Report”) entitled “Analysis of Small Business Contracting in Job
Corps,” written by Peter Rell, the former National Director of Job Corps, and
Vince Doran, the former President of Res-Care. The court granted in part and

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denied in part plaintiff’s request. With respect to the Rell & Doran Report, the
court denied plaintiff’s motion to supplement the record. As for Mr. Myers’
declaration, the court admitted it for the sole purposes of evaluating whether
an injunction should issue in the event that plaintiff were to be successful on
the merits. Plaintiff again seeks to supplement the administrative record with
an additional declaration from its vice-president. Mr. Myers offers
information concerning (1) Res-Care’s effectiveness in operating Job Corps
centers, (2) the harm that Res-Care will experience if it is excluded from the
procurement process, (3) the poor performance record of small businesses in
this field, and (4) his own qualifications to comment on the above-mentioned
subjects. Data is included in the declaration showing Res-Care’s performance
record.

        The parties have filed cross-motions for judgment on the administrative
record pursuant to Rule 52.1 of the Rules of the United States Court of Federal
Claims (“RCFC”). See RCFC 52.1. In its cross-motion for judgment on the
administrative record, defendant asks the court to strike part of plaintiff’s
memorandum in support of judgment on the administrative record because it
refers to the Rell & Doran Report and Mr. Myers’ second declaration, which
were not admitted into the record.

                                DISCUSSION

        Pursuant to the Tucker Act, we have jurisdiction to “render judgment
on an action by an interested party objecting to a solicitation by a Federal
agency for bids or proposals for a proposed contract or to a proposed award .
. . or any alleged violation of statute or regulation in connection with a
procurement or a proposed procurement.” 28 U.S.C. § 1491(b)(1) (2006).
Res-Care is an “interested party” because it is a prospective bidder “whose
direct economic interest would be affected by the award of the contract.” Am.
Fed’n of Gov’t Employees, ALF-CIO v. United States, 258 F.3d 1294, 1302
(Fed. Cir. 2001) (quoting 31 U.S.C. § 3551(2) (Supp. IV 1998)). DOL’s
decision to designate the contract as a small business set-aside is made “in
connection with” a proposed procurement and plaintiff alleges that the
decision was made in violation of applicable statutes. We therefore have
jurisdiction.




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I.     Extra-Record Evidence

        We begin with the procedural questions raised by plaintiff’s motion to
supplement the administrative record with the second declaration of Mr.
Myers, and defendant’s motion to strike references in plaintiff’s briefing to the
Rell & Doran Report and to either of Mr. Myers’ declarations. We admitted
the first Myers declaration for the limited purpose of supporting plaintiff’s
claim of injury, in the event the court reached the question of injunctive relief.
Defendant is correct, however, that plaintiff makes liberal reference to the
balance of the declaration as well as the Rell & Doran Report in its briefing.
The substance of the declaration and the report is that plaintiff has done an
excellent job for several years as the incumbent contractor and that small
businesses have not done as well as large businesses in running Job Corps
centers. We agree with defendant that those extra-record references,
particularly to the report, cannot be considered with respect to any issue in this
bid protest other than potential injury to plaintiff. The purpose of our review
is to ensure that the agency complied with the applicable rules in deciding to
move to a small business set-aside. The fact that plaintiff has done a good job,
and that small businesses as a group have not, is not relevant to any inquiry
open to the court. The evidence would only inform a judgment made at the
policy level.

II.    Substantive Arguments

       A. Section 2887

       The Workforce Investment Act (“WIA”), Pub. L. No. 105-220, 112
Stat. 936 (1998), amending various sections codified throughout Title 29,
provides the following direction with respect to contracts to operate Job Corps
Centers:

       Except as provided in subsections (a) to (c) of section 3304 of
       Title 41, the Secretary shall select on a competitive basis an
       entity to operate a Job Corps center . . . . In developing a
       solicitation for an operator or service provider, the Secretary
       shall consult with the Governor of the State in which the center
       is located, the industry council for the Job Corps center (if
       established), and the applicable local board regarding the
       contents of such solicitation, including elements that will
       promote the consistency of the activities carried out through the

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       center with the objectives set forth in the State plan or in a local
       plan.

29 U.S.C. § 2887(a)(2)(A) (2006 & Supp. V 2012) (emphasis added)
(hereafter “section 2887”). The critical language, to plaintiff, is the portion
highlighted above. Plaintiff argues that it precludes small business set asides,
which are not specifically within the itemized exceptions to selection “on a
competitive basis.” As we explain below, however, this assertion is based on
an assumption we do not share, that small business set-asides are not
conducted on a competitive basis.

        The Secretary of Labor has statutory authority to adopt regulations
implementing the WIA. Id. § 2939. The DOL regulation applicable to Job
Corps contract awards repeats the language of section 2887, albeit by reference
to a prior codification of CICA: “The Secretary selects eligible entities to
operate contract centers and operational support service providers on a
competitive basis in accordance with [FASA] unless section 303(c) and (d) of
that Act apply.” 20 C.F.R. § 670.310(a) (2012). The regulations also direct
that “[t]he requirements of the Federal Property and Administrative Services
Act of 1949 [FASA], as amended . . . the Federal Acquisition Regulation
[FAR] . . .; and the DOL Acquisition Regulation . . . apply to the award of
contracts . . . .” Id. § 670.320.

      The exceptions referred to in section 2887 were incorporated within the
amendments to FASA brought about by the Competition in Contracting Act
(CICA), Pub. L. No. 98-369, 98 Stat. 494 (1984), and are now codified at 41
U.S.C. §§ 3304 (a)-(c) (Supp. V 2012). The relevant excerpts from section
3304 follow:

       (a) When noncompetitive procedures may be used.--An
       executive agency may use procedures other than competitive
       procedures only when--
              (1) the property or services needed by the
              executive agency are available from only one
              responsible source and no other type of property
              or services will satisfy the needs of the executive
              agency;
              (2) the executive agency’s need for the property
              or services is of such an unusual and compelling
              urgency that the Federal Government would be

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              seriously injured unless the executive agency is
              permitted to limit the number of sources from
              which it solicits bids or proposals;
              (3) it is necessary to award the contract to a
              particular source . . . ;
              ....
       (b) Property or services deemed available from only one source.
       ...
       (c) Property or services needed with unusual and compelling
       urgency. . . .

41 U.S.C. § 3304(a)-(c). In essence, section 3304 provides a number of
instances in which “noncompetitive procedures” may be used. There is no
suggestion here that DOL invoked any of these exceptions.

        Instead, in initiating the sources sought notice and the subsequent small
business set aside, the agency utilized the procedures authorized by 41 U.S.C.
§ 3303, “Exclusion of . . . solicitation to small business concerns.” Paragraph
(b) permits the agency to procure services “using competitive procedures, but
excluding other than small business concerns.” 41 U.S.C. § 3303(b). The
agency, using the procedures set out in FAR part 19.502-2,5 concluded that
there was a “reasonable expectation” that “[o]ffers will be obtained from at
least two responsible small business concerns” offering the services sought.
48 C.F.R. § 19.502-2(b)(1).

        Plaintiff’s principal argument is that the agency violated WIA by
utilizing the small business set-aside procedures of section 3303. The critical
assumption behind its argument is that small business set asides are not a form
of competition. Plaintiff construes the language of section 2887—“Except as
provided in subsections (a) to (c) of section 3304 of Title 41, the Secretary
shall select on a competitive basis”—to preclude small business set asides
under section 3303 because WIA only exempts procedures under section 3304
from its requirement that a selection be made on a “competitive basis.” The
structural argument it makes is that, by not listing small business set asides as
one of the specific exceptions, Congress meant to exclude it as a procurement
vehicle for WIA.



       5
         This provision of the FAR governs the appropriate use of small
business set-asides.

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        Plaintiff’s argument only succeeds if small business set asides are
noncompetitive. If in fact they are a type of competitive procurement, there
is no tension at all between WIA and the use of section 3303 procedures.

       The larger context of section 3303 within Chapter 33 of Title 41 is
relevant. Section 3301 is entitled “Full and open competition.” Paragraph (a)
provides that “[e]xcept as provided in sections 3303, 3304(a), and 3305 . . . an
executive agency in conducting a procurement . . . shall . . . obtain full and
open competition through the use of competitive procedures in accordance
with the requirements of this division and the [FAR].” 41 U.S.C. § 3301(a)(1)
(Supp. V 2012). Sections 3303, 3304(a), and 3305 contain procedures that are
exempted from the requirement of “full and open competition.” Id. § 3301(a).
That does not mean, however, that all of the devices listed in sections 3303-
3305 are noncompetitive. The phrase “full and open competition” is not
synonymous with “competitive procedures” or “competitive basis.”

       Section 3303 permits the “[e]xclusion of other than small business
concerns,” as well as exclusion of a particular source. Id. § 3303(a), (b).
Paragraph (b), dealing with small business set-asides, specifically requires the
use of competitive procedures. Id. § 3303(b) (authorizing an agency to
procure goods and services “using competitive procedures but excluding other
than small business concerns”). Section 3304, in contrast, sets out a number
of special circumstances in which “noncompetitive procedures” may be used.
Id. § 3304. Section 3305 permits simplified procedures for small purchases,
although it requires the agency to “promote competition to the maximum
extent practicable.” Id. § 3305(d).

       The only one of these sections which specifically contemplates
noncompetitive procedures is 3304. As defendant points out, CICA was
amended and reorganized in 2011, in part to “conform to the understood
policy, intent, and purpose of Congress in the original enactments . . . and
remove ambiguities, contradictions, and other imperfections.” Pub. L. No.
111-350, § 2, 124 Stat 3677, 3677 (2011), codified at 41 U.S.C. § 101 (Supp.
V 2012). One of the effects of that reorganization was that sole source and
related noncompetitive awards were assembled under the new section 3304,
which bears the title “Use of Noncompetitive Procedures.” We think a fair
reading of that caption is that other procedures, such as small business set
asides are, by definition, not “noncompetitive.”




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        The terms “full and open competition” and “competitive procedures,”
are obviously close kin, but there is no logical reason to assume that all
procedures which are not within the scope of section 3304 must therefore meet
the test for “full and open competition.” It is more logical to assume that the
terms are not identical for a reason. The term “full and open competition,” is
defined in the FAR. When used with respect to a contract action, it “means
that all responsible sources are permitted to compete.” 48 C.F.R. § 2.101. In
other words, “full and open competition,” at one extreme, and “noncompetitive
procedures” at the other extreme, do not necessarily constitute the entire
universe of possible procurement mechanisms. The most natural reading of
these five provisions is that, while small business set asides are not a type of
“full and open competition” referred within the meaning of section 3301, they
are also not within the “noncompetitive” procedures covered by section 3304.
The architecture of Title 41 thus does not support plaintiff’s argument.

       It would be helpful if the term “competitive basis” were defined within
WIA. It is not. Nor is it defined within CICA. Defendant points out,
however, that CICA defines a similar phrase, “competitive procedures,” to
include procurements that are set-aside to promote small businesses:

       [T]he term “competitive procedures” means procedures under
       which an executive agency enters into a contract pursuant to full
       and open competition. The term also includes—
              ....
              (4) procurements conducted in furtherance of
              section 15 of the Small Business Act . . . as long
              as all responsible business concerns that are
              entitled to submit offers for those procurements
              are permitted to compete . . . .

41 U.S.C. § 152. CICA thus specifically treats small business set asides as
requiring competition.

       The common usage of the terms “competition” and “competitive” also
support defendant’s view. “When terms are not defined, it is a basic principle
of statutory interpretation that they are deemed to have their ordinary
meaning.” Nielson v. Shinseki, 607 F.3d 802, 805 (Fed. Cir. 2010) (citing Am.
Tobacco Co. v. Patterson, 456 U.S. 63, 68 (1982); Perrin v. United States, 444
U.S. 37, 42 (1979)). Webster’s Third New International Dictionary 464
(1993), defines competitive as “characterized by, arising from, or designated


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to exhibit rivalry among two or more equally matched individuals or forces
especially for a particular goal, position or reward.” Another dictionary
defines “competitive” as “involving, or determined by competition” and
“competition” as “[r]ivalry between two or more businesses striving for the
same customers or market.” Webster’s II New Riverside University Dictionary
290 (1984). In the context of a procurement, the goal would be award of the
contract. There must be a minimum of two potential bidders before a
procurement can be set aside for small businesses. In the ordinary sense, then,
small business set asides are competitive.

       We think it is fair to refer to CICA to consider what is meant by “on a
competitive basis” because section 2887 draws the connection by excepting
procedures set out in section 3304. In addition, DOL is given statutory
authority to develop regulations, and those regulations direct the use of the
FAR in DOL procurements. 29 U.S.C. § 2939; 20 C.F.R. § 670.320. Short of
fabricating its own comprehensive and parallel body of procurement
regulations, it is difficult to conceive that DOL would do anything other than
mimic the FAR to the extent that no direct conflict would be precipitated.

       We conclude, in short, that there is no ambiguity in section 2887. Small
business set asides are not precluded. Even if the statute were unclear,
however, we agree with defendant that, as the agency charged with
implementing the statute, 29 U.S.C. § 2939(a), the DOL is entitled to some
deference in construing section 2887 the way it has. See Chevron, U.S.A., Inc.
v. Natural Res. Def. Council, Inc., 467 U.S. 837, 843-45 (1984). The agency
has adopted regulations specifically authorizing use of small business set
asides in contracting for Job Corps training centers. 20 C.F.R. § 670.310
(2012); 48 C.F.R. § 2919.502.

       B. Application of the “Rule of Two”

        Plaintiff’s alternative argument is that the contracting officer violated
the “rule of two,” which requires the contracting officer to have a reasonable
belief that there are at least two responsible small businesses that can satisfy
the contract requirements at a fair market price. See 48 C.F.R. § 19.502-2.
While plaintiff does not specifically challenge the contracting officer’s finding
that the two small businesses involved here meet that test, it contends that
there was substantial evidence available to show that small businesses, in
general, have a record of poor past performance in operating Job Corps
centers.

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        It bears repeating here that the only evidence supporting plaintiff’s
argument has been struck by the court: the Myers’ declaration and the Rell &
Doran Report. These materials are plainly “extra-record.” They were either
not available to the contracting officer (the Myers declaration), or, even if
generally available as background on the Job Corps program (the Rell & Doran
Report), are not appropriate for court consideration on the narrow question of
whether the contracting officer was arbitrary or capricious in concluding that
at least two responsible small businesses were capable of bidding the contract
work at a fair price. What plaintiff urges the court to do is determine that it
was arbitrary or capricious for the agency to assume the presence of two such
small firms because, in general, small businesses have underperformed in the
past. Such guilt by association may have been an exercise in common sense,
but it would only have informed a policy judgment. It does not draw into
question the particular determination made here. The contracting officer had
before her information on which to base the determination that, based on the
types of experience viewed as relevant, the two surviving small businesses
could compete.

                               CONCLUSION

        For reasons explained above, we deny plaintiff’s motion to supplement
the administrative record. We grant defendant’s motion to strike references to
the Myers declaration and the Rell & Doran Report to the extent the Myers
declaration has not already been admitted. We deny plaintiff’s motion for
judgment on the administrative record, and we grant defendant’s cross-motion
for judgment on the administrative record and dismiss the complaint. The
clerk is directed to enter judgment accordingly. No costs.




                                           s/ Eric G. Bruggink
                                           ERIC G. BRUGGINK
                                           Judge




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